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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                   INDIANAPOLIS DIVISION

 K.C., et al.,

                         Plaintiffs,

                 v.                                            No. 1:23-CV-595

 THE INDIVIDUAL MEMBERS OF THE
 MEDICAL LICENSING BOARD OF
 INDIANA, in their official capacities, et al.,

                         Defendants.


                      EXPERT DECLARATION OF DANIEL SHUMER, M.D.

 I, Daniel Shumer, M.D., hereby declare and state as follows:

          1.     I have been retained by counsel for Plaintiffs as an expert in connection with the

 above-captioned litigation.

          2.     I have actual knowledge of the matters stated herein. If called to testify in this

 matter, I would testify truthfully and based on my expert opinion.

     I.        BACKGROUND AND QUALIFICATIONS

          A.     Qualifications

          3.     I am a Pediatric Endocrinologist, Associate Professor of Pediatrics, and the Clinical

 Director of the Child and Adolescent Gender Clinic at Mott Children’s Hospital at Michigan

 Medicine. I am also the Medical Director of the Comprehensive Gender Services Program at

 Michigan Medicine, University of Michigan.




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        4.      I am Board Certified in Pediatrics and Pediatric Endocrinology by the American

 Board of Pediatrics and licensed to practice medicine in the state of Michigan.

        5.      I received my medical degree from Northwestern University in 2008. After

 completing a Residency in Pediatrics at Vermont Children’s Hospital, I began a Fellowship in

 Pediatric Endocrinology at Harvard University’s Boston Children's Hospital. Concurrent with the

 Fellowship, I completed a Master of Public Health from Harvard’s T.H. Chan School of Public

 Health. I completed both the Fellowship and the MPH degree in 2015.

        6.      I have extensive experience working with and treating children and adolescents

 with endocrine conditions including differences in sex development (DSD) (also referred to as

 intersex conditions), gender dysphoria, type 1 diabetes, thyroid disorders, growth problems, and

 delayed or precocious puberty. I have been treating patients with gender dysphoria as a pediatric

 endocrinologist since 2015.

        7.      A major focus of my clinical, teaching, and research work pertains to the

 assessment and medical management of transgender adolescents.

        8.      I have published extensively on the topic of gender identity in pediatrics and the

 treatment of gender dysphoria, as well as reviewed the peer-reviewed literature concerning medical

 treatments for gender dysphoria, the current standards of care the treatment of gender dysphoria,

 and research articles on a variety of topics with a focus on mental health in transgender adolescents.

        9.      I am involved in education of medical trainees. I am the Fellowship Director in the

 Division of Pediatric Endocrinology, Education Lead for the Division of Pediatric Endocrinology,

 and Course Director for a medical student elective in Transgender Medicine. My additional

 academic duties as an Associate Professor include teaching several lectures, including those

 entitled “Puberty,” “Transgender Medicine,” and “Pediatric Growth and Development.”

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        10.     As a Fellow at Harvard, I was mentored by Dr. Norman Spack. Dr. Spack

 established the Gender Management Services Clinic (GeMS) at Boston Children’s Hospital. While

 working and training at GeMS, I became a clinical expert in the field of transgender medicine

 within Pediatric Endocrinology and began conducting research on gender identity, gender

 dysphoria, and the evaluation and management of gender dysphoria in children and adolescents.

        11.     Based on my work at GeMS, I was recruited to establish a similar program

 assessing and treating gender diverse and transgender children and adolescents at the C.S. Mott

 Children’s Hospital in Ann Arbor. In October 2015, I founded the hospital’s Child and Adolescent

 Gender Services Clinic.

        12.     The Child and Adolescent Gender Services Clinic has treated over 600 patients

 since its founding. The clinic provides comprehensive assessment, and when appropriate,

 treatment with pubertal suppression and hormonal therapies, to patients diagnosed with gender

 dysphoria. I have personally evaluated and treated over 400 patients with gender dysphoria. The

 majority of the patients receiving care range between 10 and 21 years old. Most patients that we

 assess and treat at the clinic live in Michigan or Ohio. As the Clinical Director, I oversee the

 clinical practice, which currently includes 4 physicians (including 1 psychiatrist), 1 nurse

 practitioner, 2 social workers, 1 research coordinator, as well as nursing and administrative staff.

 I also actively conduct research related to transgender medicine, gender dysphoria treatment, and

 mental health concerns specific to transgender youth.

        13.     I also provide care in in the Differences/Disorders of Sex Development (DSD)

 Clinic at Michigan Medicine at Mott Children’s Hospital. The DSD Clinic is a multidisciplinary

 clinic focused on providing care to infants and children with differences in the typical path of sex

 development, which may be influenced by the arrangement of sex chromosomes, the functioning

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 of our gonads (i.e. testes, ovaries), and our bodies’ response to hormones. The clinic is comprised

 of members from Pediatric Endocrinology, Genetics, Psychology, Urology, Gynecology, Surgery,

 and Social Work. In this clinic I have assessed and treated over 100 patients with DSD.

         14.      In my role as Medical Director of the Comprehensive Gender Services Program

 (CGSP), I lead Michigan Medicine’s broader efforts related to transgender services. CGSP is

 comprised of providers from across the health system including pediatric care, adult hormone

 provision, gynecologic services, adult surgical services, speech/language therapy, mental health

 services, and primary care. I run monthly meetings with representatives from these areas to help

 coordinate communication between Departments. I coordinate strategic planning aimed to

 improve care within the health system related to our transgender population. I also serve as the

 medical representative for CGSP in discussions with health system administrators and outside

 entities.

         15.      I have authored numerous peer-reviewed articles related to treatment of transgender

 youth. I have also co-authored chapters of medical textbooks related to medical management of

 transgender patients. I have been invited to speak at numerous hospitals, clinics, and conferences

 on topics related to clinical care and standards for treating transgender children and youth.

         16.      The information provided regarding my professional background, experiences,

 publications, and presentations is detailed in my curriculum vitae, a true and correct copy of the

 most up-to-date version of which is attached as Exhibit A.

               B. Prior Testimony

         17.      In the past four years, I have been retained as an expert and provided testimony at

 trial or by deposition in the following cases: Boe, et al. v. Marshall et al., No. 2:22-cv-184-LCB-

 CWB (US District Court for the Middle District of Alabama Northern Division); Roe et al v. Utah

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 High School Activities Association et al (Third District Court in and for Salt Lake County, UT);

 Menefee v. City of Huntsville Bd. of Educ., No. 5:18-cv-01481 (N.D. Ala.); and Dekker, et al., v.

 Weida, et al., No. 4:22-cv-00325 (N.D. Fla). I also provided expert witness testimony on behalf of

 a parent in a custody dispute involving a transgender child in the following case: In the Interest of

 Younger, No. DF-15-09887 (Dallas County, Texas).

              C. Compensation

        18.      I am being compensated at an hourly rate for the actual time that I devote to this

 case, at the rate of $400 per hour for any review of records, preparation of reports, declarations,

 and deposition and trial testimony. My compensation does not depend on the outcome of this

 litigation, the opinions that I express, or the testimony that I provide.

              D. Bases for Opinions

        19.      This declaration sets forth my opinions in this case and the bases for my opinions.

        20.      In preparing this declaration I reviewed the Indiana Senate Enrolled Act 480

 (hereafter, “S.E.A. 480”, “the Act” or “the ban”).

        21.      I have also reviewed the materials cited here, as well as the materials listed within

 my curriculum vitae, which is attached as Exhibit A.             The sources cited therein include

 authoritative, scientific peer-reviewed publications. They include the documents specifically cited

 as supportive examples in particular sections of this report. I may rely on these materials as

 additional support for my opinions.

        22.      In addition, I have relied on my scientific education, training, and years of clinical

 and research experience, and my knowledge of the scientific literature in the pertinent fields.




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          23.     The materials I have relied upon in preparing this declaration are the same types of

 materials that experts in my field of study regularly rely upon when forming opinions on these

 subjects.

          24.     To the best of my knowledge, I have not met or spoken with the Plaintiffs or their

 parents. My opinions are based solely on my extensive background and experience treating

 transgender patients.

          25.     I may wish to supplement or revise these opinions or the bases for them due to new

 scientific research or publications or in response to statements and issues that may arise in my area

 of expertise.

    II.         EXPERT OPINIONS

          A.      MEDICAL AND SCIENTIFIC BACKGROUND ON SEX AND GENDER
                  IDENTITY

          26.     Sex is comprised of several components, including, among others, internal

 reproductive organs, external genitalia, chromosomes, hormones, gender identity, and secondary

 sex characteristics (IOM, 2011).

          27.     Gender identity is the medical term for a person’s internal sense of belonging to a

 particular sex. Everyone has a gender identity. The term transgender refers to individuals whose

 gender identity does not align with their sex assigned at birth (Shumer, et al., 2013).

          28.     A person’s understanding of their gender identity may evolve over time in the

 natural course of their life, however, attempts to force transgender people to align their gender

 identity with their birth sex (sometimes descried as “conversion therapy”) have been found to be

 both harmful and ineffective. In one study, transgender adults who recall previous attempts from

 healthcare professionals to alter their gender identity reported an increase in lifetime suicide



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 attempts and higher rates of severe psychological distress in the present (Turban, et al., 2020a). In

 another study, exposure to these types of attempts were found to increase the likelihood that a

 transgender adolescent will attempt suicide by 55% and more than double the risk for running

 away from home (Campbell, et al., 2002). Those practices have been denounced as unethical by

 all major professional associations of medical and mental health professionals, such as the

 American Medical Association, the American Academy of Pediatrics, the American Psychiatric

 Association, and the American Psychological Association, among others (Fish, et al., 2022).

        29.        Scientific research and medical literature across disciplines demonstrates that

 gender identity, like other components of sex, has a strong biological foundation. For example,

 there are numerous studies detailing the similarities in the brain structures of transgender and non-

 transgender people with the same gender identity (Luders, et al., 2009; Rametti, et al., 2011;

 Berglund, et al., 2008; Savic, et al., 2011). In one such study, the volume of the bed nucleus of the

 stria terminalis (a collection of cells in the central brain) in transgender women was equivalent to

 the volume found in cisgender women (Chung, et al., 2002).

              B.      ASSESSMENT OF GENDER DYSPHORIA IN CHILDREN,
                      ADOLESCENTS, AND ADULTS

        30.        Due to the incongruence between their assigned sex and gender identity,

 transgender people experience varying degrees of gender dysphoria, a serious medical condition

 defined in both the American Psychiatric Association’s Diagnostic and Statistical Manual of

 Mental Disorders (DSM-5 TR) (APA, 2022).

        31.        Gender Dysphoria is defined as an incongruence between a patient’s assigned sex

 and their gender identity present for at least six months, which causes clinically important distress

 in the person’s life. This distress is further defined as impairment in social, occupational, or other



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 important areas of functioning (APA, 2022). Additional features may include a strong desire to be

 rid of one’s primary or secondary sex characteristics, a strong desire to be treated as a member of

 the identified gender, or a strong conviction that one has the typical feelings of identified gender

 (APA, 2022).

        32.        The Standards of Care for the Health of Transgender and Gender Diverse People,

 Version 8 (“SOC 8”), published by the World Professional Association for Transgender Health

 (WPATH), provides guidance to clinicians on how to provide comprehensive assessment and care

 to children and adolescents with gender dysphoria based on the best available medical evidence.

 These standards recommend involving relevant disciplines, including mental health and medical

 professionals, to reach a decision with families about whether medical interventions are

 appropriate and remain indicated through the course of treatment.

        33.        For transgender adolescents, all treatment decisions are made in consultation with

 the adolescent and the adolescent’s parent or guardian with the parent or guardian providing

 ultimate consent for treatment.

              C.      EVIDENCE-BASED CLINICAL PRACTICE GUIDELINES FOR THE
                      TREATMENT OF GENDER DYSPHORIA IN CHILDREN,
                      ADOLESCENTS AND ADULTS

        34.        The goal of any intervention for gender dysphoria is to reduce dysphoria, improve

 functioning, and prevent the harms caused by untreated gender dysphoria.

        35.        Gender dysphoria is highly treatable and can be effectively managed. If left

 untreated, however, it can result in severe anxiety and depression, eating disorders, substance

 abuse, self-harm, and suicidality (Reisner, et al., 2015).




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        36.     Based on longitudinal data, and my own clinical experience, when transgender

 adolescents are provided with appropriate medical treatment and have parental and social support,

 they are more likely to thrive and grow into healthy adults (de Vries, et al., 2014).

        37.     In children and adolescents, a comprehensive biopsychosocial assessment is

 typically the first step in evaluation, performed by a provider with experience in gender identity.

 The goals of this assessment are to develop a deep understanding of the young person’s experience

 with gender identity, to consider whether the child or adolescent meets criteria for a diagnosis of

 gender dysphoria, and to understand what options may be desired and helpful for the adolescent

 (Coleman, et al., 2022; Coleman, et al., 2012; Hembree, et al., 2017; Hembree, et al., 2009).

        38.     For children younger than pubertal age, the only recommended treatments do not

 involve medications. For adolescents, additional treatments involving medications may be

 appropriate.

        39.     Options for treatment after the onset of puberty include the use of gonadotropin-

 releasing hormone agonists (“GnRHa”) for purposes of preventing progression of pubertal

 development, and hormonal interventions such as testosterone and estrogen administration. These

 treatment options are based on robust research and clinical experience, which consistently

 demonstrate safety and efficacy.

        40.     WPATH and the Endocrine Society (Coleman, et al., 2022; Coleman, et al., 2012;

 Hembree, et al., 2017; Hembree, et al., 2009) and the UCSF Center for Excellence in Transgender

 Health (Deutsch (ed.), 2016) have all published clinical practice guidelines for the treatment of

 patients with gender dysphoria. The clinical practice guidelines and standards of care provide a

 framework for treatment of gender dysphoria in adolescents. The evidence base supporting the




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 recommendations in these guidelines is comparable to the evidence base supporting other clinical

 care guidelines.

        41.     WPATH has been recognized as the standard-setting organization for the treatment

 of gender dysphoria since its founding in 1979. The most recent WPATH Standards of Care (SOC

 8) were published in 2022 (Coleman, et al., 2022).

        42.     The purpose of the WPATH Standards of Care is to assist health providers in

 delivering necessary medical care to transgender people, to maximize patients’ overall health,

 psychological well-being, and self-fulfillment. The WPATH Standards of Care serve as one of the

 foundations for the care provided in my own clinic.

        43.     The WPATH SOC 8 is based on rigorous review of the best available science and

 expert professional consensus in transgender health. International professionals were selected to

 serve on the SOC 8 writing committee. Recommendation statements were developed based on data

 derived from independent systemic literature reviews. Grading of evidence was performed by an

 Evidence Review Team which determined the strength of evidence presented in each individual

 study relied upon in the document (Coleman, et al., 2022).

        44.     In addition, the Endocrine Society is a 100-year-old global membership

 organization representing professionals in the field of adult and pediatric endocrinology. In 2017,

 the Endocrine Society published clinical practice guidelines on treatment recommendations for the

 medical management of gender dysphoria, in collaboration with Pediatric Endocrine Society, the

 European Societies for Endocrinology and Pediatric Endocrinology, and WPATH, among others

 (Hembree, et al, 2017).

        45.     The Endocrine Society Clinical Guidelines were developed through rigorous

 scientific processes that “followed the approach recommended by the Grading of

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 Recommendations, Assessment, Development, and Evaluation group, an international group with

 expertise in the development and implementation of evidence-based guidelines.” The guidelines

 affirm that patients with gender dysphoria often must be treated with “a safe and effective hormone

 regimen that will (1) suppress endogenous sex hormone secretion determined by the person’s

 genetic/gonadal sex and (2) maintain sex hormone levels within the normal range for the person’s

 affirmed gender.” (Hembree, et al., 2017).

        46.     The AAP is the preeminent professional body of pediatricians in the United States,

 with over 67,000 members. The AAP endorses a commitment to the optimal physical, mental, and

 social health and well-being for youth. The 2018 policy statement titled Ensuring Comprehensive

 Care and Support for Transgender and Gender-Diverse Children and Adolescents further lends

 support to the treatment options outlined in the WPATH Standards of Care and the Endocrine

 Society’s Clinical Practice Guidelines (Rafferty, et al., 2018).

        47.     Aside from the AAP, the guidelines set forth by the Endocrine Society Clinical

 Practice Guideline and the WPATH Standards of Care are supported by the major professional

 medical and mental health associations in the United States, including the American Medical

 Association, the American Psychological Association, the American Psychiatric Association, and

 American Academy of Family Physicians, among others (e.g., AMA, 2019; American

 Psychological Association, 2015; Drescher, et al., 2018 (American Psychiatric Association);

 Hembree, et al., 2017 (Endocrine Society); Klein, et al., 2018 (AAFP); National Academies, 2020;

 WPATH, 2016).

        48.     As a board-certified pediatric endocrinologist, I follow the Endocrine Society

 Clinical Practice Guidelines and the WPATH Standards of Care when treating my patients.




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              D.      TREATMENT PROTOCOLS FOR GENDER DYSPHORIA

        49.        Undergoing treatment to alleviate gender dysphoria is commonly referred to as a

 transition. The steps that make up a person’s transition and their sequence will depend on that

 individual’s medical and mental health needs and decisions made between the patient, family, and

 medical care team.

        50.        There are no medications considered for transition until after the onset of puberty.

 Puberty is a process of maturation heralded by production of sex hormones—testosterone and

 estrogen—leading to the development of secondary sex characteristics. Secondary sex

 characteristics include testosterone-induced effects such as deepening of the voice, muscular

 changes, facial and body hair, and estrogen-induced effects such as breast development. There is

 diversity in the age of pubertal onset; however, most adolescents begin puberty between ages 10

 and 12 years.

        51.        After the onset of puberty, puberty-delaying medication and hormone-replacement

 therapy—both individually and in combination—can significantly improve the mental health of

 adolescents diagnosed with gender dysphoria. These treatments allow for a patient’s physiological

 characteristics to more closely align with gender identity and decreases the likelihood that the

 young person will be incorrectly identified with their assigned sex, further alleviating their gender

 dysphoria.

        52.        At the onset of puberty, adolescents begin to experience the onset of secondary sex

 characteristics. Adolescents with incongruence between gender identity and assigned sex may

 have intensification of gender dysphoria during this time due to development of secondary sex

 characteristics that don’t align with gender identity. Persistence or intensification of gender




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 dysphoria as puberty begins is used as a helpful diagnostic tool as it becomes more predictive of

 gender identity persistence into adolescence and adulthood (de Vries, et al., 2012).

                        i.    Treatment with puberty-delaying medications

        53.     Adolescents diagnosed with gender dysphoria who have entered puberty (Tanner

 Stage 2) may be prescribed puberty-delaying medications (GnRHa) to prevent the distress of

 developing permanent physical characteristics that do not align with the adolescent’s gender

 identity. Tanner Stage 2 refers to the stage in puberty whereby the physical effects of testosterone

 or estrogen production are first apparent on physical exam. Specifically, this is heralded by the

 onset of breast budding in an individual assigned female at birth, or the onset of testicular

 enlargement in an individual assigned male at birth. For individuals assigned male at birth, Tanner

 Stage 2 typically occurs between age 9-14, and for those assigned female at birth between age 8-

 12.

        54.     The treatment works by pausing endogenous puberty at whatever stage it is at when

 the treatment begins, limiting the influence of a person’s endogenous hormones on their body. For

 example, a transgender girl will experience no progression of physical changes caused by

 testosterone, including facial and body hair, an Adam’s apple, or masculinized facial structures

 while undergoing treatment with the pubertal suppressant. And, in a transgender boy, those

 medications would prevent progression of breast development, menstruation, and widening of the

 hips for the duration of the treatment (Coleman, et al., 2022; de Vries, et al., 2012; Deutsch (ed.),

 2016; Hembree, et al., 2017; Rosenthal, 2014).

        55.     GnRHa have been used extensively in pediatrics for several decades. Prior to their

 use for gender dysphoria, they were used (and still are used) to treat precocious puberty. GnRHa

 work by suppressing the signal hormones from the pituitary gland (luteinizing hormone [LH] and

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 follicle stimulating hormone [FSH]) that stimulate the testes or ovaries to produce sex hormones.

 Upon discontinuation of GnRHa, LH and FSH production resume and puberty will also resume.

        56.     GnRHa have no long-term implications on fertility. In transgender youth, it is most

 typical to use GnRHa from the onset of puberty (Tanner Stage 2) until mid-adolescence. During

 the course of treatment, the decision as to whether to continue treatment is continually evaluated.

 Should pubertal suppression no longer be desired, GnRHa would be discontinued, and puberty

 would re-commence.

        57.     Prior to initiation of GnRHa, providers counsel patients and their families

 extensively on potential benefits and risks. Designed benefit of treatment is to reduce the risk of

 worsening gender dysphoria and mental health deterioration. More specifically, use of GnRHa in

 transmasculine adolescents allows for decreased chest development, reducing the need for breast

 binding and surgical intervention in adulthood. For those transmasculine adolescents who do

 pursue surgical intervention to reduce breast tissue, such “top surgery” is comparable to the

 surgical interventions used to treat gynecomastia in non-transgender adolescent males. For

 transfeminine adolescents GnRHa limits facial and body hair growth, voice deepening, and

 masculine bone structure development, which greatly reduce distress both at the time of treatment

 and later in life and reduce the need for later interventions such as voice therapy, hair removal, and

 facial feminization surgery.

        58.     The goal in using GnRHa is to minimize the patient’s dysphoria related to

 progression of puberty and allow for later initiation of puberty consistent with gender identity

 should that become medically indicated. When a patient presents to care, the provider assesses the

 patient’s pubertal stage, pubertal history, and individual needs. A patient may present prior to the

 onset of puberty (Tanner Stage 1), at the onset of puberty (Tanner Stage 2), or further along in

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 puberty (Tanner Stages 3-5). The pubertal stage and individual needs of the patient then direct

 conversations regarding care options. A patient at Tanner Stage 2 may benefit from GnRHa, while

 an older patient who has completed puberty may benefit from pubertal initiation with hormones,

 as described below. I have observed that providing individualized care based on individual patient

 characteristics, using the WPATH Standards of Care as the foundation of this care, provides

 significant benefit to patients, minimizes gender dysphoria, and can eliminate the need for surgical

 treatments in adulthood.

        59.     As an experienced pediatric endocrinologist, I treat patients with these same

 medications for both precocious puberty and gender dysphoria and in both cases the side effects

 are comparable and easily managed. And for both patient populations the risks are greatly

 outweighed by the benefits of treatment.

        60.     In addition, I regularly prescribe GnRHa for patients who do not meet criteria for

 precocious puberty but who require pubertal suppression. Examples include patients with

 disabilities who are unable to tolerate puberty at the typical age due to hygienic concerns; minors

 with growth hormone deficiency who despite growth hormone treatment will have a very short

 adult height; and patients with endometriosis. As with gender dysphoria, the prescription of

 GnRHa to treat these conditions is “off-label,” yet it is widely accepted within the field of

 endocrinology and not considered experimental.         The same holds true for other common

 medications used in pediatric endocrinology: using metformin for weight loss; growth hormone

 for short stature not caused by growth hormone deficiency; countless medications used to control

 type 2 diabetes which have an adult indication but whose manufacturers have not applied for a

 pediatric indication.




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                         ii.     Treatment with hormone therapy

        61.     In mid-adolescence, the patient, their parents, and the patient’s care team may

 discuss the possibility of beginning the use of testosterone or estrogen (along with a testosterone

 suppressant). In my practice we discuss these treatments for a patient who is currently receiving

 GnRHa, or patients who have already gone through their endogenous puberty and either did not

 have access to, desire, or elect for GnRHa treatment.

        62.     These hormone therapies are used to treat gender dysphoria in adolescents and

 adults to facilitate development of physical changes congruent with a patient’s gender identity. For

 example, a transgender male adolescent or adult prescribed testosterone will develop a lower voice

 as well as facial and body hair, while a transgender female adolescent or adult prescribed estrogen

 will experience breast growth, female fat distribution, and softer skin.

        63.     Under the Endocrine Society Clinical Guidelines and SOC 8, hormone therapy is

 an appropriate treatment for transgender adolescents with gender dysphoria when the experience

 of dysphoria is marked and sustained over time, the adolescent demonstrates emotional and

 cognitive maturity required to provide and informed consent/assent for treatment, other mental

 health concerns (if any) that may interfere with diagnostic clarity and capacity to consent have

 been addressed, the adolescent has discussed reproductive options with their provider. SOC 8 also

 highlights the importance of involving parent(s)/guardian(s) in the assessment and treatment

 process for minors (Coleman, et al., 2022; Hembree, et al., 2017). In the United States, parental

 consent is required for treatment for adolescents with gender dysphoria.

        64.     Similar to GnRHa, the risks and benefits of hormone treatment are discussed with

 patients (and families, if the patient is a minor) prior to initiation of testosterone or estrogen. When

 treated with testosterone or estrogen, the goal is to maintain the patient’s hormone levels within

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 the normal range for their gender identity. Laboratory testing is recommended to ensure proper

 dosing and hormonal levels. If starting hormonal care after completing puberty, discussion of egg

 or sperm preservation prior to starting treatment is recommended.

        65.        Regardless of the treatment plan prescribed, at every encounter with the care team

 there is a re-evaluation of treatment – including the benefits, side effects, and trajectory of the

 treatment for the individual patient. Should a patient desire to discontinue a medical intervention,

 the intervention is discontinued.

              E.      SAFETY AND EFFICACY OF PUBERTY-DELAYING
                      MEDICATIONS AND HORMONE THERAPY TO TREAT GENDER
                      DYSPHORIA

        66.        GnRHa, prescribed for delaying puberty in transgender adolescents with gender

 dysphoria, is both a safe and effective treatment. Patients under consideration for treatment work

 with providers to ensure that each treatment decision is informed and appropriate. This process is

 done thoughtfully and carefully with the patient and family in the best interest of the adolescent.

 Physicians providing this intervention are trained and qualified in gender identity concerns and

 childhood growth and development and are participating in this care out of a desire to improve the

 health and wellness of transgender youth and prevent negative outcomes such as depression and

 suicide.

        67.        GnRHa, including injectable leuprolide and implantable histrelin, have rare side

 effects which are discussed with patients and families prior to initiation. Mild negative effects may

 include pain at the injection or implantation site, sterile abscess formation, weight gain, hot flashes,

 abdominal pain, and headaches. These effects can be seen in patients receiving GnRHa for gender

 dysphoria, or for other indications such as precocious puberty. It is appropriate to counsel patients




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 on maintaining a healthy diet and promote physical activity, and regularly document height and

 weight during treatment. Nutritional support can be provided for patients at risk for obesity.

        68.     Risk of lower bone mineral density in prolonged use of GnRHa can be mitigated

 by screening for, and treating, vitamin D deficiency when present, and by limiting the number of

 years of treatment based on a patient’s clinical course (Rosenthal, 2014). An exceptionally rare

 occurrence described with the use of GnRHa is increased intracranial pressure, which has been

 reported in six patients (five treated for precocious puberty, one for gender dysphoria), prompting

 an FDA warning in July 2022 (AAP, 2022). These cases represent an extremely small fraction of

 the hundreds of thousands of patients who have been treated with GnRHa over decades for

 conditions including precocious puberty as well as gender dysphoria. Symptoms of this side effect

 (headache, vomiting, visual changes) are reviewed with families and if they occur the medication

 is discontinued.

        69.     GnRHa on its own does not have long-term implications on fertility. This is clearly

 proven from decades of use in the treatment of precocious puberty (Guaraldi, et al., 2016;

 Martinerie, et al, 2021). Progression through natal puberty is required for maturation of egg or

 sperm. If fertility after previous treatment with GnRHa followed by hormone therapy is desired,

 an adult patient would withdraw from hormones and allow pubertal progression. Assistive

 reproduction could be employed if needed (T’Sjoen, et al., 2013). Caanen et al demonstrated that

 transgender men have similar ovarian morphology to cisgender women, even when treated with

 GnRHa followed by testosterone. These treatments did not cause the ovarian changes which are

 seen in hyperandrogenic women with polycystic ovarian syndrome and infertility (Caanen, 2017).

 This lends support to the expectation that the sequence of GnRHa to testosterone does not cause

 permanent infertility.

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        70.     Patients who initiate hormones after completing puberty are offered gamete

 preservation prior to hormonal initiation (Coleman, et al., 2022), but even when not undertaken,

 withdrawal of hormones in adulthood often is successful in achieving fertility when it is desired

 (Light, et al., 2014; Knudson, et al., 2017). For transgender men, pregnancy has occurred even

 when on testosterone treatment and trans male patients are regularly advised that testosterone is

 not an effective form of birth control.

        71.     Discussing the topic of fertility is important, and not specifically unique to

 treatment of gender dysphoria in the pediatric patient population. Medications used for other

 medical conditions, such as chemotherapeutics used in cancer treatment, can affect fertility. For

 all medications with potential impacts on fertility, the potential risks and benefits of both treatment

 and non-treatment should be reviewed and data regarding risk for infertility clearly articulated

 prior to the consent or assent of the patient. Risk for fertility changes must be balanced with the

 risk of withholding treatment.

        72.     Review of relevant medical literature clearly supports the benefits of GnRHa

 treatment on both short-term and long-term psychological functioning and quality of life (e.g.,

 Achille, et al., 2020; Carmichael, et al., 2021; Costa, et al., 2015; de Vries, et al., 2014; de Vries,

 et al., 2011; Kuper, et al., 2020; Turban, et al., 2020b; van der Miesen, et al., 2020).

        73.     In my own practice, adolescent patients struggling with significant distress at the

 onset of puberty routinely have dramatic improvements in mood, school performance, and quality

 of life with appropriate use of GnRHa. Side effects encountered are similar to those seen in other

 patients treated with these medications for conditions other than gender dysphoria and easily

 managed.




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        74.     Hormone therapy (testosterone or estrogen) is prescribed to older adolescents with

 gender dysphoria. As is the case with GnRHa, the need for hormone therapy is not unique to

 transgender adolescents. Patients with conditions such as delayed puberty, hypogonadism, Turner

 Syndrome, Klinefelter Syndrome, agonism, premature ovarian failure, and disorders of sex

 development all require treatment with these hormones, often times starting in adolescence and

 continuing lifelong. Without testosterone or estrogen treatment, these patients would be unable to

 progress through puberty normally, which would have serious medical and social consequences.

 Whether used in adolescents to treat gender dysphoria, or to treat any of these other conditions,

 testosterone and estrogen are prescribed with a goal to raise the testosterone or estrogen level into

 the normal male or female range for the patient’s age. Careful monitoring of blood levels and

 clinical progress are required. Side effects are rare, but most often related to overtreatment, which

 can be minimized with this appropriate monitoring. Additionally, side effects are considered,

 discussed, and appropriately managed in all individuals needing hormone therapy regardless of the

 diagnosis necessitating these medications.

        75.     Venous thromboembolism (blood clotting) is a known side effect of estrogen

 therapy in all individuals placed on it including transgender women. Risk is increased with age, in

 patients with cancer, and in patients who smoke nicotine. This side effect is mitigated by careful

 and accurate prescribing and monitoring. In my career, none of my patients have suffered a

 thromboembolism while on estrogen therapy.

        76.     Treatment of gender dysphoria with testosterone or estrogen is highly beneficial for

 both short-term and long-term psychological functioning of adolescents with gender dysphoria and

 withholding treatment from those who need it is harmful (e.g., Achille, et al., 2020; Allen, et al.,




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 2019; Chen, et al., 2023; de Lara, et al., 2020; de Vries, et al., 2014; Grannis, et al., 2021; Green,

 et al., 2022; Kaltiala, et al., 2020; Kuper, et al., 2020).

         77.        I treat many patients with gender dysphoria with GnRHa, testosterone, and

 estrogen. Side effects related to these medications are very rare and can be treated with dose

 adjustment and/or lifestyle changes. In all cases, treatment is tailored to the individual needs of the

 patient, weighing the potential risks and benefits of treatment and withholding treatment, the

 medical history of the individual patient, as well as the best available research and clinical data for

 each medical intervention.

         78.        The research on the efficacy of hormone treatment in transgender adults is robust

 and can also be used to bolster our knowledge about the efficacy of treatment in adolescents. At

 least 11 longitudinal studies document improvement in various mental health parameters including

 depression, anxiety, self-confidence, body image and self-image, general psychological

 functioning (e.g., Colizzi, et al., 2013; Colizzi, et al., 2014; Corda, et al., 2016; Defreyne, et al.,

 2018; Fisher, et al., 2016; Heylens, et al., 2014; Keo-Meier, et al., 2015; Manieri, et al., 2014;

 Motta, et al., 2018; Oda, et al., 2017; Turban, et al., 2018).

         79.        In sum, the use of GnRHa and hormones in adolescents for the treatment of gender

 dysphoria is the current standard of care. This is of the product of the best available evidence that

 clearly demonstrates the safety and efficacy of this treatment for those who need it.

               F.      HARMS ASSOCIATED WITH PROHIBITING AND
                       DISCONTINUING TREATMENT

         80.        Prohibition of gender-affirming care for adolescents is likely to have devastating

 consequences. I am concerned that S.E.A. 480 might lead to a staggering increase in mental health

 problems including suicidality for adolescents with gender dysphoria in Indiana.



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           81.     Even more concerning is a situation where patients currently receiving care and

 thriving would be forced to discontinue this care. Discontinuation of GnRHa would cause the onset

 of a puberty discordant from gender identity, a significant source of distress for patients with

 gender dysphoria. Similarly, discontinuation of gender-affirming hormone therapy for adolescents

 with gender dysphoria will cause adolescents receiving treatment to experience physiological

 changes inconsistent with their gender identity. Abrupt withdrawal of hormone therapy can cause

 severe physical side effects including hot flashes and headaches. For patients who are titrated down

 in dose to avoid these effects, taking patients off of a therapeutic dose of hormone therapy would

 cause the types of physiological changes inconsistent with gender identity that result in severe

 psychological distress for adolescents with gender dysphoria. For adolescents in Indiana whose

 current treatment is affected by S.E.A. 480, I am concerned that the law will cause severe and

 rapidly deteriorating emotional problems.

    III.         CONCLUSION

           82.     In summary, banning gender-affirming care regardless of individual patient need

 runs counter to evidence-based best practices and standards of care for the treatment of gender

 dysphoria.

           83.     Lack of access to the treatments banned under the Act will result in worse outcomes

 for countless individuals in Indiana.

           84.     In my own clinical practice in Michigan, I have seen an influx of patients from

 states banning medically proven treatments for gender dysphoria who report not feeling safe living

 in the community that they have always called home. These patients unfortunately often have to

 wait long periods of time to resume care and when they are seen, the impact of this delay is

 devastating on their mental health.

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        85.     Banning effective treatment for gender dysphoria will not eliminate transgender

 people, but will, unfortunately, lead to an increase in mental health problems and suicidality in an

 already vulnerable population.




        I declare under penalty of perjury under the laws of the United States of America that

 the foregoing is true and correct.



 Executed this 18th day of April 2023.




                                                      Daniel Shumer, M.D.




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                                         Daniel Shumer
                                  Clinical Associate Professor
                                      dshumer@umich.edu


Education and Training
Education
08/2000-08/2003         BA, Northwestern University, Evanston, IL
08/2004-05/2008         MD, Northwestern University, Feinberg School of Medicine, Chicago, IL
07/2013-05/2015         MPH, Harvard T.H. Chan School of Public Health, Boston, MA

Postdoctoral Training
                        Residency, Pediatrics, Vermont Children's Hospital at Fletcher Allen Health Care,
06/2008-06/2011
                        Burlington, VT
                        Chief Resident, Chief Resident, Vermont Children's Hospital at Fletcher Allen
07/2011-06/2012
                        Health Care, Burlington, VT
07/2012-06/2015         Clinical Fellow, Pediatric Endocrinology, Boston Children's Hospital, Boston, MA

Certification And Licensure
Certification
10/2011-Present         American Board of Pediatrics, General
Licensure
                        Michigan, Medical License
                        Michigan, Controlled Substance
08/2015-Present         Michigan, Medical License
09/2015-Present         Michigan, DEA Registration
09/2015-Present         Michigan, Controlled Substance

Work Experience
Academic Appointment
10/2015-Present         Clinical Assistant Professor in Pediatrics - Endocrinology, University of Michigan -
                        Ann Arbor, Ann Arbor
04/2022-Present         in Pediatrics - Endocrinology, University of Michigan - Ann Arbor, Ann Arbor
09/2022-08/2023         Clinical Associate Professor in Pediatrics - Endocrinology, University of Michigan -
                        Ann Arbor, Ann Arbor

Administrative Appointment
07/2019-Present         Fellowship Director - Pediatric Endocrinology, Michigan Medicine, Department of
                        Pediatrics, Ann Arbor
07/2020-Present         Medical Director of the University of Michigan Comprehensive Gender Services
                        Program, Oversee the provision of care to transgender and gender non-
                        conforming patients at Michigan Medicine, Michigan Medicine, Ann Arbor
07/2020-Present         Education Lead - Pediatric Endocrinology, University of Michigan - Department of
                        Pediatrics, Ann Arbor

Clinical Appointments




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04/2022-05/2023           Medical Director in UMMG Faculty Benefits Appt., University of Michigan - Ann
                          Arbor, Ann Arbor

Private Practice
08/2013-09/2015           Staff Physician, Harvard Vanguard Medical Associates, Braintree

Grants

FY23-Project AW (NEWBRSC-UM): Newborn Screening Coordinating Center:
Co-I (Principal Investigator:Ram Menon)
MDHHS
10/2022 - 09/2023
$659,065



Newborn Screening Coordinating Center:
Co-I (Principal Investigator:Ram Menon)
MDHHS
10/2023 - 09/2024
$795,278

U2CDK:Catalyzing Health Equity and Engagement in T1D Research:
Co-I (Principal Investigator:Joyce Lee)
NIH-DHHS-US
07/2023 - 06/2028
$11,794,578



R01:The Intersection of Sex and Gender in Pediatric Meta-Inflammation:
Co-I (Principal Investigator:Kanakadurga Singer)
NIH-DHHS-US
07/2020 - 06/2024
$2,087,316


Past Grants
A Phase 2b/3 study to evaluate the safety, tolerability, and effects of Livoletide (AZP-531), an unacylated
ghrelin analog, on food-related behaviors in patients with Prader-Willi syndrome:
PI
Millendo Therapeutics
04/2019 - 04/2021
$162,773


Honors and Awards
National
2014                      Annual Pediatric Endocrine Society Essay Competition: Ethical Dilemmas in
                          Pediatric Endocrinology: competition winner - The Role of Assent in the Treatment
                          of Transgender Adolescents
Institutional
2012 - 2015               Harvard Pediatric Health Services Research Fellowship; funded my final two years
                          of pediatric endocrine fellowship and provided tuition support for my public health




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                    degree
2016                The University of Michigan Distinguished Diversity Leaders Award, awarded by
                    The Office of Diversity, Equity and Inclusion to the Child and Adolescent Gender
                    Services Team under my leadership
2019                Lecturer of the Month, Department of Pediatrics, Michigan Medicine

Teaching
Mentorship
Resident
07/2020-Present     Rebecca Warwick, Michigan Medicine (co-author on publication #22)
Clinical Fellow
07/2017-06/2020     Adrian Araya, Michigan Medicine (co-author on publication #22, book chapter #4)
12/2020-Present     Jessica Jary, Michigan Medicine - Division of Adolescent Medicine
Medical Student
09/2017-06/2020     Michael Ho, Michigan Medicine
07/2019-Present     Hadrian Kinnear, University of Michigan Medical School (co-author on book
                    chapter #3, abstract #3)
07/2019-Present     Jourdin Batchelor, University of Michigan

Teaching Activity
Regional
08/2018-Present     Pediatric Boards Review Course sponsored by U-M: "Thyroid Disorders and
                    Diabetes". Ann Arbor, MI
Institutional
12/2015-12/2015     Pediatric Grand Rounds: "Transgender Medicine - A Field in Transition". Michigan
                    Medicine, Ann Arbor, MI
02/2016-02/2016     Medical Student Education: Panelist for M1 Class Session on LGBT Health,
                    Doctoring Curriculum. Michigan Medicine, Ann Arbor, MI
02/2016-02/2016     Psychiatry Grand Rounds: "Transgender Medicine - A Field in Transition".
                    Michigan Medicine, Ann Arbor, MI
03/2016-03/2017     Pharmacy School Education: "LGBT Health". University of Michigan School of
                    Pharmacy, Ann Arbor, MI
04/2016-Present     Course Director: Medical Student (M4) Elective in Transgender Medicine.
                    Michigan Medicine, Ann Arbor, MI
04/2016-04/2016     Rheumatology Grand Rounds: "Gender Identity". Michigan Medicine, Ann Arbor,
                    MI
05/2016-05/2016     Lecture to Pediatric Rheumatology Division: "Gender Dysphoria". Michigan
                    Medicine, Ann Arbor, MI
07/2016-07/2016     Internal Medicine Resident Education: "Gender Identity". Michigan Medicine, Ann
                    Arbor, MI
09/2016-09/2016     Presentation to ACU Leadership: "Gender Identity Cultural Competencies".
                    Michigan Medicine, Ann Arbor, MI
10/2016-10/2016     Presentation to Department of Dermatology: "The iPledge Program and
                    Transgender Patients". Michigan Medicine, Ann Arbor, MI
02/2017-02/2017     Swartz Rounds Presenter. Michigan Medicine, Ann Arbor, MI
02/2017-02/2017     Lecture to Division of General Medicine: "Transgender Health". Michigan
                    Medicine, Ann Arbor, MI




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02/2017-02/2017          Presentation at Collaborative Office Rounds: "Transgender Health". Michigan
                         Medicine, Ann Arbor, MI
10/2017-10/2017          Family Medicine Annual Conference: "Transgender Medicine". Michigan Medicine,
                         Ann Arbor, MI
12/2017-12/2017          Presenter at Nursing Unit 12-West Annual Educational Retreat: "Gender Identity at
                         the Children's Hospital". Michigan Medicine, Ann Arbor, MI
02/2018-Present          Pediatrics Residency Lecturer: "Puberty". Michigan Medicine, Ann Arbor, MI
02/2019-Present          Medical Student (M1) Lecturer: "Pediatric Growth and Development". Michigan
                         Medicine, Ann Arbor, MI
02/2019-Present          Doctors of Tomorrow Preceptor: offering shadowing opportunities to students from
                         Cass Technical High School in Detroit. Michigan Medicine, Ann Arbor, MI
03/2019-03/2019          Lecture to Division of Orthopedic Surgery: "Transgender Health". Michigan
                         Medicine, Ann Arbor, MI
04/2023-Present          Guest Lecturer in Woman and Gender Studies 400 undergraduate course,
                         University of Michigan

Memberships in Professional Societies
2012 - Present           Pediatric Endocrine Society

Committee/Service
National
2014 - 2016              Pediatric Endocrine Society - Ethics Committee, Other, Member
2017 - present           Pediatric Endocrine Society - Special Interest Group on Gender Identity, Other,
                         Member
2018 - present           Pediatric Endocrine Society - Program Directors Education Committee, Other,
                         Member
Regional
2013 - 2015              Investigational Review Board - The Fenway Institute, Boston, MA, Other, Voting
                         Member
Institutional
2017 - 2019              Department of Pediatrics at Michigan Medicine; Diversity, Equity, and Inclusion
                         Committee, Other, Fellowship Lead
2017 - 2019              University of Michigan Transgender Research Group, Other, Director
Volunteer Service
Volunteer
2014                     Camp Physician, Massachusetts, Served at a camp for youth with Type 1
                         Diabetes

Scholarly Activities
Presentations
Extramural Invited Presentation
Speaker
1.   Grand Rounds, Shumer D, Loyola University School of Medicine, 07/2022, Chicago, Illinois
Other
1.   Gender Identity, Groton School, 04/2015, Groton, MA
2.   Television Appearance: Gender Identity in Youth, Channel 7 WXYZ Detroit, 04/2016, Southfield, MI




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3. It Gets Better: Promoting Safe and Supportive Healthcare Environments for Sexual Minority and
Gender Non-Conforming Youth, Adolescent Health Initiative: Conference on Adolescent Health, 05/2016,
Ypsilanti, MI
4.    Gender Identity, Humanists of Southeast Michigan, 09/2016, Farmington Hills, MI
5.    Gender Identity, Pine Rest Christian Mental Health Services, 10/2016, Grand Rapids, MI
6. Pediatric Grand Rounds - Hormonal Management of Transgender Youth, Beaumont Children's
Hospital, 11/2016, Royal Oak, MI
7.    Transgender Youth: A Field in Transition, Temple Beth Emeth, 11/2016, Ann Arbor, MI
8.    Transgender Youth: A Field in Transition, Washtenaw County Medical Society, 11/2016, Ann Arbor, MI
9. Pediatric Grand Rounds: Transgender Youth - A Field in Transition, St. John Hospital, 02/2017, Detroit,
MI
10.    Transgender Medicine, Veterans Administration - Ann Arbor Healthcare System, 05/2017, Ann Arbor,
MI
11.    Gender Identity, Hegira Programs, 05/2017, Detroit, MI
12.    Care of the Transgender Adolescent, Partners in Pediatric Care, 06/2017, Traverse City, MI
13. Conference planner, host, and presenter: Transgender and Gender Non-Conforming Youth: Best
Practices for Mental Health Clinicians, Educators, & School Staff; 200+ attendees from fields of mental
health and education from across Michigan, Michigan Medicine, 10/2017, Ypsilanti, MI
14.    Endocrinology Grand Rounds: Transgender Medicine, Wayne State University, 11/2017, Detroit, MI
15. Care of the Transgender Adolescent, St. John Hospital Conference: Transgender Patients: Providing
Compassionate, Affirmative and Evidence Based Care, 11/2017, Grosse Pointe Farms, MI
16. Hormonal Care in Transgender Adolescents, Michigan State University School of Osteopathic
Medicine, 11/2017, East Lansing, MI
17. Working with Transgender and Gender Non-Conforming Youth, Michigan Association of Osteopathic
Family Physicians, 01/2018, Bellaire, MI
18.    Community Conversations, Lake Orion, 01/2018, Lake Orion, MI
19.    "I Am Jazz" Reading and Discussion, St. James Episcopal Church, 03/2019, Dexter, MI
20. Gender Identity, Michigan Organization on Adolescent Sexual Health, 10/2019, Brighton, MI; Port
Huron, MI
21.    Ask The Expert, Stand With Trans, 05/2020, Farmington Hills, MI (Virtual due to COVID)
22.    Lets Talk About Hormones, Stand With Trans, 10/2020, Farmington Hills, MI (Virtual due to COVID)
23. Transgender Medicine, Michigan Association of Clinical Endocrinologists Annual Symposium,
10/2020, Grand Rapids, MI (Virtual due to COVID)
24. Transgender Youth in Primary Care, Michigan Child Care Collaborative (MC3), 10/2020, Ann Arbor,
MI (Virtual due to COVID)
25.    Gender Identity, Universalist Unitarian Church of East Liberty, 04/2021, Virtual due to COVID
26.    Unconscious Bias, Ascension St. John Hospital, 05/2021, Virtual due to COVID

Publications/Scholarship
(Co-First Author *; Corresponding author **; Co-Last author ***)


Peer-Reviewed
Journal Article
1. Shumer DE, Mehringer JE, Braverman LE, Dauber A: Acquired hypothyroidism in an infant related to
excessive maternal iodine intake: food for thought. Endocr Pract.19(4): 729-731, 01/2013. PM23512394
2. Shumer DE, Spack NP: Current management of gender identity disorder in childhood and
adolescence: guidelines, barriers and areas of controversy. Curr Opin Endocrinol Diabetes Obes.20(1): 69-




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73, 02/2013. PM23221495
3. Shumer DE, Thaker V, Taylor GA, Wassner AJ: Severe hypercalcaemia due to subcutaneous fat
necrosis: presentation, management and complications. Arch Dis Child Fetal Neonatal Ed.99(5): F419-
F421, 09/2014. PM24907163
4. Tishelman AC, Kaufman R, Edwards-Leeper L, Mandel FH, Shumer DE, Spack NP: Serving
Transgender Youth: Challenges, Dilemmas and Clinical Examples. Prof Psychol Res Pr.46(1): 37-45,
01/2015. PM26807001
5. Shumer DE, Tishelman AC: The Role of Assent in the Treatment of Transgender Adolescents. Int J
Transgend.16(2): 97-102, 01/2015. PM27175107
6. Shumer DE, Roberts AL, Reisner SL, Lyall K, Austin SB: Brief Report: Autistic Traits in Mothers and
Children Associated with Child's Gender Nonconformity. J Autism Dev Disord.45(5): 1489-1494, 05/2015.
PM25358249
7. Tishelman AC, Kaufman R, Edwards-Leeper L, Mandel FH, Shumer DE, Spack NP: Reply to comment
on "Serving Transgender Youth: Challenges, Dilemmas, and Clinical Examples" by Tishelman et al. (2015).
Prof Psychol Res Pr.46(4): 307, 08/2015. PM26858509
8. Guss C, Shumer D, Katz-Wise SL: Transgender and gender nonconforming adolescent care:
psychosocial and medical considerations. Curr Opin Pediatr.27(4): 421-426, 08/2015. PM26087416
9. Shumer DE, Nokoff NJ, Spack NP: Advances in the Care of Transgender Children and Adolescents.
Adv Pediatr.63(1): 79-102, 08/2016. PM27426896
10. Shumer DE, Reisner SL, Edwards-Leeper L, Tishelman A: Evaluation of Asperger Syndrome in
Youth Presenting to a Gender Dysphoria Clinic. LGBT Health.3(5): 387-390, 10/2016. PM26651183
11. Shumer DE, Abrha A, Feldman HA, Carswell J: Overrepresentation of Adopted Adolescents at a
Hospital-Based Gender Dysphoria Clinic. Transgend Health.2(1): 76-79, 01/2017. PM28861549
12. Edwards-Leeper L, Shumer DE, Feldman HA, Lash BR, Tishelman AC: Psychological profile of the
first sample of transgender youth presenting for medical intervention in a U.S. pediatric gender center.
Psychology of Sexual Orientation and Gender Diversity.4(3): 374-382, 01/2017
13. Tishelman AC, Shumer DE, Nahata L: Disorders of Sex Development: Pediatric Psychology and the
Genital Exam. J Pediatr Psychol.42(5): 530-543, 06/2017. PM27098964
14. Strang JF, Meagher H, Kenworthy L, de Vries AL C, Menvielle E, Leibowitz S, Janssen A, Cohen-
Kettenis P, Shumer DE, Edwards-Leeper L, Pleak RR, Spack N, Karasic DH, Schreier H, Balleur A,
Tishelman A, Ehrensaft D, Rodnan L, Kuschner ES, Mandel F, Caretto A, Lewis HC, Anthony LG: Initial
Clinical Guidelines for Co-Occurring Autism Spectrum Disorder and Gender Dysphoria or Incongruence in
Adolescents. J Clin Child Adolesc Psychol.47(1): 105-115, 01/2018. PM27775428
15. Mohnach L, Mazzola S, Shumer D, Berman DR: Prenatal diagnosis of 17-hydroxylase/17,20-lyase
deficiency (17OHD) in a case of 46,XY sex discordance and low maternal serum estriol. Case Reports in
Perinatal Medicine.8(1)01/2018
16. Kim C, Harrall KK, Glueck DH, Shumer D, Dabelea D: Childhood adiposity and adolescent sex
steroids in the EPOCH (Exploring Perinatal Outcomes among Children) study. Clin Endocrinol (Oxf).91(4):
525-533, 01/2019. PM31278867
17. Selkie E, Adkins V, Masters E, Bajpai A, Shumer D: Transgender Adolescents' Uses of Social Media
for Social Support. J Adolesc Health.66(3): 275-280, 03/2020. PM31690534
18. Araya AC, Warwick R, Shumer D, Selkie E: Romantic Relationships in Transgender Adolescents: A
Qualitative Study. Pediatrics.147(2)02/2021. PM33468600
19. Vengalil N, Shumer D, Wang F: Developing an LGBT curriculum and evaluating its impact on
dermatology residents. Int J Dermatol.61: 99-102, 01/2022. PM34416015
20. Warwick RM, Araya AC, Shumer DE, Selkie EM: Transgender Youths' Sexual Health and Education:
A Qualitative Analysis. J Pediatr Adolesc Gynecol.35(2): 138-146, 04/2022. PM34619356
21. Warwick RM, Shumer DE: Gender-affirming multidisciplinary care for transgender and non-binary
children and adolescents. Children's Health Care.52(1): 91-115, 01/2023

Books




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1. Clara A-V, Bizic M, Bockting WO, Bouman M-B, Bowers ML, Buncamper ME, Capitán L, Castillo M,
Chim HW, Colebunders B, Crane C, D′Arpa S, Djordjevic ML, Estes C, Fein LA, Gasgarth R, Hoebeke P,
Horne M, Joumblat NR, Kojic S, Levine JP, Lumen N, Meijerink WJ H J, Monstrey SJ, Salgado CJ, Shumer
DE, Simon D, Sinha VR, Sinha VK, Spack NP, Sputova K, Stanojevic D, Stojanovic B, Tarsha AA, Thomas
JP, van der Sluis WB, Volker MK, Weiss RE, Yamaguchi Y, Zhao LC, Zoghbi Y. Gender Affirmation Medical
& Surgical Perspectives. Thieme, (2017)
Chapters
1. Shumer D: Coma. In Schwartz MW The 5-Minute Pediatric Consult,6, Lippincott Williams & Wilkins,
Philadelphia, PA, (2012)
2. Shumer D, Spack N: Medical Treatment of the Adolescent Transgender Patient. In Đorđević M,
Monstrey SJ, Salgado CJ Eds. Gender Affirmation: Medical and Surgical Perspectives,CRC Press/Taylor &
Francis, (2016)
3. Shumer DE, Kinnear HA: Duration of Pubertal Suppression and Initiation of Gender-Affirming
Hormone Treatment in Youth. In Finlayson Pubertal Suppression in Transgender Youth,Elsevier, (2018)
4. Shumer DE, Araya A: Endocrinology of Transgender Care – Children and Adolescents. In Poretsky,
Hembree Ed. Transgender Medicine: A Multidisciplinary Approach,Springer, (2019)

Non-Peer Reviewed
Commentary
1. Martin S, Sandberg ES, Shumer DE: Criminalization of Gender-Affirming Care - Interfering with
Essential Treatment for Transgender Children and Adolescents. New England Journal of Medicine.385(7):
579-581, 05/2021. PM34010528
Comparative Study
1. Reisner SL, Vetters R, Leclerc M, Zaslow S, Wolfrum S, Shumer D, Mimiaga MJ: Mental health of
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